Case 2:05-cv-00192-GZS Document 105 Filed 03/06/07 Page 1 of 2                   PageID #: 406




                               UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MAINE


   IVAN M. SUZMAN                               )
                                                )
                  Plaintiff,                    )
                                                )
   v.                                           )      Docket No. 2:05-CV-192-GZS
                                                )
   ADOLPH CRISP,                                )
   et al.,                                      )
                                                )
                  Defendants.                   )
                                                )


                           ORDER ON MOTION FOR DEFAULT

          Before the Court is Plaintiff Ivan M. Suzman’s Verified Motion for Entry of
   Judgment by Default Pursuant to F.R.C.P. 55(a) (Docket # 91). Defendant s Adolph Crisp
   and Rayella Booton-Brown have objected to this Motion (Dockets # 95 & 101). Notably,
   however, Defendant Casa Agape Ministries has failed to respond to Plaintiff’s Motion.
   For the reasons briefly stated below, the Court hereby DENIES the Motion with regard to
   Defendants Crisp and Booton-Brown and ORDERS that DEFAULT be entered as against
   Defendant Casa Agape Ministries.
          The pending motion implicates Federal Rule of Civil Procedure 55(a), which
   provides that an entry of default may be entered “[w]hen a party against whom a
   judgment for affirmative relief is sought has failed to plead or otherwise defend as
   provided by [the Federal Rules of Civil Procedure].” Fed. R. Civ. P. 55(a). “Entry of
   default is an interlocutory order – entered in anticipation of a final judgment – formally
   recognizing that a party ‘has failed to plead or otherwise defend.’” United States v.
   $23,000 in United States Currency, 356 F.3d 157, 163 (1st Cir. 2004) (citing Fed. R. Civ.
   P. 55(a)). In deciding the motion, the Court is also guided by the general philosophy that
   “if at all possible, actions sho uld be decided on their merits.” Snyder v. Talbot, 836 F.
   Supp. 26, 29 (D. Me 1993) (citing Coon v. Grenier, 867 F.2d 73, 76 (1st Cir. 1989)).
Case 2:05-cv-00192-GZS Document 105 Filed 03/06/07 Page 2 of 2                   PageID #: 407




          In the present case, both Crisp and Booton-Brown have plead and defended
   against the present action by answering the Second Amended Complaint (Docket #s 72,
   74 & 75) and objecting to the present Motion (Docket #s 95 & 101).             Given the
   preference to decide actions on their merits and the admittedly minimal and belated
   actions of Defendants Crisp and Booton-Brown, the Court hereby DENIES the Motion
   for default against Crisp and Booton-Brown.
          Defendant Casa Agape Ministries has failed to answer the Second Amended
   Complaint (Docket # 72) or to respond to the present Motion. Further, Casa Agape
   Ministries has failed to perfect its appearance through the appearance of counsel at any
   point in this litigation.   Therefore, entry of default as to Casa Agape Ministries is
   appropriate in accordance with Federal Rule of Civil Procedure 55(a).
          At this point, however, an entry of default judgment in accordance with Rule
   55(b)(2), with regard to any party, is not appropriate. Rule 55(b)(2) provides that an
   entry of default judgment may be entered where a party is otherwise entitled and the
   amount of damages are certain. Where, as here, the amount of damages are not certain,
   “the court may conduct such hearings or order such references as it deems necessary and
   proper.” Rule 55(b)(2). A damages hearing is set for March 20, 2007. Plaintiff shall
   notify Defendant Casa Agape Ministries in accordance with Rule 55(b)(2).
          Therefore, the Court ORDERS that the Clerk shall enter Defendant Casa Agape
   Ministries’s Default. All parties are hereby notified that the Court will conduct the
   damages hearing in this matter simultaneously with the bench trial previously scheduled
   for March 20, 2007. Plaintiff is free to renew his request for default if either Defendant
   Crisp or Defendant Booton-Brown fails to appear for trial.

          SO ORDERED.

                                        /s/ George Z. Singal
                                        Chief United States District Judge

   Dated at Portland, Maine, this 6th day of March, 2007.
